           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

UNITED STATES OF AMERICA,           )
                                    )
          Plaintiff,                )
                                    )       Criminal Action No.
    v.                              )       10-00320-16-CR-W-DGK
                                    )
FRANK ALVAREZ,                      )
                                    )
          Defendant.                )

                       REPORT AND RECOMMENDATION

     Before the court is defendant’s motion to dismiss for fraud

on the court (document number 279).         In support defendant

attaches copies of docket sheets that have been sent to him.                One

of the docket sheet includes “(Court only)” entries which

defendant claims were illegally inserted.

     When the docket sheet marked Exhibit D was printed, it was

mistakenly printed as a court-employee copy.          Defendant, acting

pro se, is not entitled to see the court-only entries; no

attorney in the case is entitled to see the court-only entries.

Those entries were not added after the fact.

     Therefore, it is

     RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

denying defendant’s motion to dismiss the indictment for fraud

upon the court.




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     Counsel and the defendant are advised that, pursuant to 28

U.S.C. § 636(b)(1), each has 14 days from the date of this report

and recommendation to file and serve specific objections.




                                 ROBERT E. LARSEN
                                 United States Magistrate Judge

Kansas City, Missouri
July 8, 2011




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